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EXHIBIT F
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         * NORRIS LAW



September 15, 2021


Via Email Only


Mr. Freddy M. Bensch, Individually
c/o Amanda G. Hyland, Esq.
Taylor English Duma LLP
1600 Parkwood Circle, Suite 200
Atlanta, GA 30339
ahvland@taylorenglish.com


         Re: Demandfor Return ofthe Converted "Fuss Intellectual Property”


Dear Mr. Bensch, individually, c/o Ms. Amanda Hyland,


Demand is hereby made that Mr. Bensch, individually, return the Fuss Intellectual Property in the manner
specified herein which requires categorical words and actions without delay. The Fuss Intellectual
Property includes all rights and privileges of ownership, including moral rights, in and to the copyrighted
works (that is, that work reflected in the registrations VAU1-326-605 and VA2-084-616 for the “Trout
banner” and the “SweetWater leaping rainbow trout”, as well as in the 2002 Agreement between Mr. Fuss
and Mr. Bensch, except for the Tap Handle intellectual property that was already signed and assigned to
SweetWater in 2003, which, obviously already belongs to SweetWater, and, now, Tilray or its subsidiary),
and all rights of Mr. Fuss as owner of property at common-law that are incidental to ownership of the
copyrighted works and underlying artwork related thereto.


This demand allows Mr. Bensch to return Mr. Fuss the benefits of ownership of said property which, as it
relates to this matter, includes a return to the parties’ respective positions vis-a-vis each other before said
closing. Mr. Fuss hereby specifically demands that Mr. Bensh do each and all of the following acts so as
to return this intellectual property wrongfully converted in the closing with Aphria:


    1.   Mr. Bensch shall sign, with a blue ink pen (not electronically), the enclosed Affidavit of
         Disavowal, Revocation, and Renunciation document (the “Disavowal”) in front of a notary who
         is authorized to notarize in the state of signature, which notary shall then in fact notarize the
         document, and said signature and notary being affixed to the Disavowal on or before 12:00 noon,
         Eastern Time, Friday, September 17, 2021;


    2.   Mr. Bensch shall sign, with a blue ink pen (not electronically), the enclosed Trust Agreement and
         Consent to Declaratory Judgment Action (“Trust Agreement and Consent”), in front of a notary
         who is authorized to notarize in the state of signature, which notary shall then in fact notarize the
         document, and said signature and notary being affixed to the Trust Agreement and Consent on or
         before 12:00 noon, Eastern Time, Friday, September 17, 2021;




                                                                      BLAINE A. NORRIS, PC, TRIAL ATTORNEYS
                                                                                1143 PRINCE AVENUE, ATHENS, GA 30606
                                                                                       P 706.850.9400 | F 706.850.9405
                                                                                          www NorrisInjuryLaw com
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       3.    Mr. Bensch shall send via email a color pdf version of the fully-executed Disavowal and the fully-
             executed Trust Agreement and Consent to me, at blaine@NorrisIniuryLaw.com, no later than 1 :30
             PM, Eastern Time, Friday, September 17, 2021;


       4.    Mr. Bensch shall mail the original blue ink notarized copies of the fully executed notarized
             Disavowal and the Trust Agreement and Consent to me, using Federal Express or UPS Overnight
             mail, so I receive in hand said document no later than 1 :30 PM, Eastern Time, Monday, September
             20, 2021;


       5.    Mr. Bensch shall deliver or cause to be delivered a copy of the fully-executed Disavowal and Trust
             Agreement and Consent to:
                a.   SW Brewing Company, LLC’s registered agent or executive officer (other than to Freddy
                     Bensch), by email as a pdf by 5:00 PM, Friday, September 17, 2021, with a copy by email
                     to me of the transmittal or receipt showing same to SW Brewing Company, LLC’s
                     registered agent or executive officer; and
                b.   Tilray’s entire board of Directors, and its CEO, by email as a pdf by 5:00 PM, Friday,
                     September 1 7, 202 1 , with a copy by email to me of the transmittal or receipt showing same
                     to Tilray’s entire board of Directors, and its CEO;   and


       6.    Bensch shall fully comply with, and take only actions in relation hereto and in the declaratory
             judgment action that are consistent with and in furtherance of the Disavowal and the Trust
             Agreement and Consent, including, without limitation, only contesting the issue of value in the
             declaratory judgment action, and funding and maintaining and providing notice to undersigned
             counsel of the funding of the Trust Account or CD in Trust.


   This demand for the return requires the abandonment of Mr. Bensch of his continued wrongful denial of
   Mr. Fuss’s rights. The benefits are significant to him and others. Bensch’s failure to accept and comply
   with each and all of the conditions of this demand for return of the Fuss Intellectual Property shall be
   deemed a refusal of this demand. Sincerely,


   BLAINE A. NORRIS, PC




   Blaine A. Norris
   Attorney for Ray Scott Fuss


   Encl. (Affidavit of Disavowal; Trust Agreement and Consent)




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                                   TRUST AGREEMENT AND
                   CONSENT TO DECLARATORY JUDGMENT ACTION


         I, Fredrick “Freddy” M. Bensch (“Bensch”), for and in consideration of $10.00, to be

paid by check from Blaine A. Norris, PC, for and on behalf of Ray Scott Fuss within 48 hours of

Blaine A. Norris of Blaine A. Norris, PC receiving a pdf of the fully-executed, notarized version

of this document from me, and in my expectation and right of the consideration to be obtained by

the grant of a temporary license from Ray Scott Fuss (“Fuss”), and upon my execution of the

Disavowal, Revocation, and Renunciation accompanying this document, and upon my funding of


the USD 31,000,000.00 hereunder, hereby warrant, represent, covenant, and agree to the

following terms and conditions and to perform the actions set forth herein:


    1.   I agree to, and so have contemporaneously herewith, signed the Affidavit of Disavowal,

         Revocation, and Renunciation, and I understand that said Affidavit of Disavowal,


         Revocation, and Renunciation is to be read, and considered, in pari materia with this


         document. I recognize and acknowledge Fuss’s rightful claim of ownership, and I consent


         to said claims attaching to the funds set aside, and to be held in trust, pursuant to the next

         paragraph.


    2.   1 consent to creating and funding, in trust, and I shall create and fund, in trust, USD

         31,000,000.00, either by deposit of USD 31,000,000.00 into an interest bearing account

         (“Trust Account”) or by purchase of a Certificate of Deposit bearing interest to be held in

         trust (“CD In Trust”) in the amount of USD 31,000,000.00, such Trust Account or CD In

         Trust to be opened in, or purchased from, a National Bank with branches within the city


         of Atlanta, Georgia and, further, I consent to and promise to maintain same at the level of

         USD 31,000,000.00, plus interest accruing thereon, for the benefit of Mr. Ray Scott Fuss,


         in trust. Said Trust Account or CD In Trust shall be for the purpose of, and conditioned
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on, Fuss filing a declaratory judgment action in the Superior Court of Fulton County,


Georgia (“Declaratory Judgment Action”).        With regards to said declaratory judgment


action, I hereby consent and promise that I will acknowledge service of process, venue,


jurisdiction, standing, and ripeness of a suit and controversy justifying a judicial


declaration, namely, as to the value, as determined by a jury as the finder of fact, as to the


value of the Fuss Intellectual Property, such value of the Fuss Intellectual Property to be


determined as a category and component of Intellectual Property within the USD


300,000,000.00 Enterprise Value, of the Purchase Price, and, more particularly, as a


portion of the USD 92,000,000.00 allocated to Intellectual Property in that certain


Agreement of Merger and Acquisition between SweetWater and Aphria, et al, to be paid


to Fuss as the owner of the Fuss Intellectual Property (which fact shall not be disputed).


Further to the above, I hereby agree that in no event shall the value of the Fuss Intellectual


Property be asserted or claimed or required to be paid in an amount greater than the USD


31,000,000.00, plus accrued interest. The said USD 31,000,000.00 shall be deposited, set


aside, and held in trust and used to pay Fuss for the value of the Fuss Intellectual Property


and to satisfy any verdict and decree based thereon as to the Fuss Intellectual Property. I


further agree that the value of the Fuss Intellectual Property shall be determined as if Ray


Scott Fuss in relation to the Fuss Intellectual Property had provided a written agreement


containing (A) a present, affirmative assignment of all Intellectual Property developed by


Ray Scott Fuss of his rights in such Fuss Intellectual Property to the Company, which was


purported to be Company Intellectual Property, and containing a waiver of all moral rights


therein, and (B) a confidentiality provision protecting the Trade Secrets and other


confidential information of the Company or a Subsidiary. Moreover, I further agree that




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     the value of the Fuss Intellectual Property shall be determined as if it had been true that


     Company had actually been lawfully allowed to transfer same based on a written

     agreement signed by Ray Scott Fuss on or before November 25, 2020, and effective as of

     November 4, 2020, containing a present, affirmative assignment by Ray Scott Fuss for the


     Fuss Intellectual Property to Mr. Bensch and/or the Company,


3.   As part of the Declaratory Judgment Action in Fulton County Superior Court, I consent to

     the parties filing with the Court a copy of the Demand for Return, acceptance of the

     Demand for Return, the executed Affidavit of Disavowal, Revocation, and Renunciation,


     and this Irrevocable Trust Agreement and Consent to Declaratory Judgment Action, as

     well as the proof of trust funds being deposited, and same shall be a matter of public

     records. Further, the Trust Account or CD In Trust, wherein the USD 31,000,000.00 is

     deposited or paid, shall note the civil action case number and case name thereon, and state


     on the face of the account that it is restricted and held in trust pending the outcome of the


     case and, once created, there shall be no transfers out of the Trust Account or from the CD

     In Trust and, further, 1 promise that the Trust Account or the CD In Trust shall not be

     encroached upon, transferred, depleted, withdrawn from, or used as collateral (directly or

     indirectly) or otherwise be subject to any collateralization of any debt by any party,


     whether through direct encumbrance or any dragnet clause or other approach. The Trust


     Account or CD In Trust shall be held “free and clear” of all liens and encumbrances, other

     than the terms of this Agreement and the trust imposed thereon by this Agreement.

4.   Nothing in signing this Irrevocable Trust Agreement and Consent to Declaratory Judgment

     Action, or in agreeing to hold, or holding of, the USD 31,000,000.00 pursuant hereto shall




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     constitute an admission, express or implied, by Bensch as to the value of the Fuss


     Intellectual Property.


5.   I consent to the personal jurisdiction and venue of Superior Court of Fulton County


     Georgia for a declaratory judgment on the value of the Fuss Intellectual Property.          I


     acknowledge that Fuss has standing to bring said claim for declaratory judgment and that


     same is a ripe and justiciable case and controversy as to value. And, I agree that I shall be


     bound, upon verdict being reached by a jury, as to value, and same being entered of record,


     and made the order, judgment, verdict, decree of the Court, to irrevocably agree to pay


     over, and I shall pay over and cause to be paid over, and execute all such waivers and


     consent to cause to be paid over from the amount of the trust funds, plus interests thereon,


     but in no case in an amount more than USD 31,000,000.00 plus accrued interest, to


     Plaintiff and his legal counsel, without further demand, to satisfy the verdict and decree in


     the case. In the event I appeal any verdict or order, judgment, or decree so entered, I agree


     to post bond in the amount equal to the principal and interest, as well as post sufficient


     additional monies in trust to cover post-judgment interest as provided by law.


6.   I agree to hold harmless any and all other Unitholders under the Agreement of Merger and


     Acquisition, for the claims by Fuss for the full value of the Fuss Intellectual Property, up


     to the USD 31,000,000.00, plus accrued interest, and any post-judgment interest, as


     determined by a jury, but not to exceed the USD 3 1 ,000,000.00 plus interest, and I agree


     and covenant that I will not attempt to seek contribution or raise as a defense or claim of


     contribution from other Unitholders as a defense to Fuss’s right to said funds from trust.


     I agree and consent to resolving any matter between me and the Unitholders solely




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     between me and the Unitholders and they will not be joined in the Declaratory Judgment


     Action.


7.   I dispute and disagree as to Plaintiffs contentions of value of the Fuss Intellectual


     Property; however, I agree that, because we cannot agree on same and because I


     understand that Tilray and its subsidiaries are currently using this intellectual property, a


     jury determination is needed to resolve this dispute. I acknowledge that some amount of


     funds received as a result of the closing of the Merger and Acquisition were associated


     with the Fuss Intellectual Property, and I consent to, upon that value being determined by


     the jury, having same paid over to Plaintiff.         I affirm the Affidavit of Disavowal,


     Revocation, and Renunciation, and that Ray Scott Fuss is the owner of the Fuss Intellectual


     Property as set forth in the 2002 Agreement, and will not take (and stipulate that I will be


     legally and equitably estopped from taking) any action, pleading, defense, claim, or


     position in the case or to the jury that is hostile to or adversarial in any way to his claim of


     ownership in the Fuss Intellectual Property. I will only contest the value or issues related


     to the determination of value of the Fuss Intellectual Property. Nothing in the existence of


     fact of the temporary license granted hereunder shall be used to decrease the value, or be


     calculated by any witness or party in determining value, of the Fuss Intellectual Property.


     Rather, the valuation shall be performed without regard to the temporary license granted


     hereunder, if said temporary license is granted if any.


8.   I understand that in return for my execution of the Affidavit of Disavowal, Revocation,


     and Renunciation, and this Trust Agreement, and upon my depositing and holding of USD


     31 ,000,000.00 in trust as stated herein, , that, upon my singing of these conditions being


     fulfilled, Ray Scott Fuss shall sign the Temporary License attached hereto, same being




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     effective, nunc pro tunc, as of November 4, 2020, and reasonably promptly, and in no


     event later than December 31, 2021, Fuss shall file an action for declaratory judgment in


     Superior Court of Fulton Country, and in that event, I shall acknowledge service and


     process, consent to personal jurisdiction, subject matter jurisdiction, and a disputed case


     and controversy for determination of value of the Fuss Intellectual Property, and shall only


     contest value of same, and not his ownership of same.


9.   Tilray and its subsidiaries, and all manufacturers, advertisers, marketers, distributors,


     retailers, and other persons and companies involved in the supply chain or sales and


     marketing of SweetWater beer or beer-related merchandise, are the intended third party


     beneficiaries of the temporary license that will be created and issued based on compliance


     with the terms of the Demand for Return, the fully-executed version of this document and


     compliance with same, the fully-executed version of the Disavowal, Revocation, and


     Renunciation.


10. Expiration and Void if Conditions not met:       If this document is not signed, or if the


     Disavowal, Revocation, and Renunciation is not signed, as, when, and how required by


     the Demand for Return, this document shall be of no force and effect, and neither Blaine


     Norris nor Ray Scott Fuss shall have any obligation to sign same, or sign the Temporary


     License referred to herein. If Bensch signs this document and the Disavowal, Revocation,


     and Renunciation document, as, when, and how required by the Demand for Return, and


     if Bensch sets aside and deposits the USD 31,000,000 into the Trust Account or CD in


     Trust, as set forth herein, then this document shall be binding on Ray Scott Fuss, and he


     and Blaine Norris shall sign the a version of same; additionally, if and when Bensch meets


     all conditions, and funds the $31,000,000.00, Ray Scott Fuss shall execute the Temporary




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   License Agreement in the form attached hereto as Exhibit “1     and the Temporary License,


   that is Exhibit “A” to Exhibit “1 .”


11.1 agree that fully -executed copy of this document, or a facsimile, electronic version, pdf.


   jpeg, or other electronic version of same, bearing the notarized signature of Freddy M.


   Bensch, and the signature of Ray Scott Fuss, which shall be added within 24 hours of


   Blaine Norris receiving a fully-executed copy of this document signed by Freddy Bensch,


   shall be deemed an original.    Moreover, the parties shall be able to create a conformed


   original by affixing or stapling or otherwise creating a single pdf or other paper version of


   same bearing the signatures of Freddy Bensch and Ray Scott Fuss, on the same page, or


   in counterpart, and same shall be deemed a conformed original and fully binding as such.


12. Upon the execution of the Affidavit of Disavowal, Revocation, and Renunciation, and


   compliance with the sending of copies to the persons and entities therein, and the execution


   of this Trust Agreement, and the funding of the USD 31,000,000.00 in Trust pursuant to


   this Agreement, Fuss and Bensch agree that Fuss shall not pursue or be entitled to seek


   punitive or exemplary damages from conduct of Bensch that took place at any time prior


   to the execution of this Agreement.


13. To the extent the verdict and judgment or decree thereon is for an amount less than USD


   31,000,000.00, after the payment of accrued interest and payment of post judgment


   interest, the remaining unused funds shall belong, and be paid over to, Bensch after


   satisfaction of the verdict and judgment in full.


14. This Agreement is entered into in the State of Georgia and shall be construed in accordance


   with the laws of the State of Georgia.




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BY MY SIGNATURE BELOW, I HEREBY AGREE, ACCEPT, AND COVENANT, TO
THE    TERMS      AND    CONDITIONS         SET    FORTH   ABOVE.   THIS   DAY   OF
SEPTEMBER 2021.




Fredrick “Freddy” M. Bensch


Sworn to and subscribed before me
this     day of September, 2021.



Notary Public


BY MY SIGNATURE BELOW, I HEREBY AGREE, ACCEPT, AND COVENANT, TO
THE    TERMS     AND     CONDITIONS        SET     FORTH   ABOVE.   THIS   DAY   OF
SEPTEMBER 2021.




Ray Scott Fuss




Sworn to and subscribed before me
this     day of September, 2021 .



Notary Public




Blaine A. Norris, as attorney for Ray Scott Fuss




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                           EXHIBIT 1


           DRAFT OF FORM OF TEMPORARY LICENSE




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Temporary License Agreement with Incorporated Temporary License to be Executed upon
                                    Conditions Being Satisfied


Date:                   September 1 7, 2021
Re:                     Scott Fuss ’ Copyrighted Works (namely REGISTERED
                COPYRIGHTS VAU1 -326-605 and VA2-084-616for that certain
         “Trout banner” and the “SweetWater leaping rainbow trout”) and
        matters related thereto


  I.    Conditions Precedent for Ray Scott Fuss signing the Temporary License attached hereto in
        blank form as Exhibit “A”: Scott Fuss shall sign the temporary license attached hereto as
        Exhibit A if and when the following express conditions precedent occur:


           a.   Fredrick “Freddy” M.     Bensch (“Bensch”) shall sign, with a blue ink pen (not
                electronically) the attached Disavowal, Revocation, and Renunciation document
                in front of a notary authorized to notarize in the state of signature, which notary
                shall notarize the document, on or before 12:00 noon, Eastern Time, Thursday,
                September 16, 2021;


           b.   Bensch or his counsel shall send via email a color copy of the pdf of the fully
                executed notarized Disavowal, Revocation, and Renunciation document to Blaine
                A. Norris, at blaine@NorrisIniuryLaw.com no later than 12:30 PM, Eastern Time,
                Thursday, September 16, 2021;


           c.   Bensch or his counsel shall mail the original blue ink notarized Disavowal,
                Revocation, and Renunciation to me at my physical address using Federal Express
                or UPS Overnight mail, priority delivery, such that same is received by Blaine A.
                Norris no later than 5:00 PM, Eastern Time, Friday, September 17, 2021, and
                provide tracking information to Blaine A. Norris for said letter;


           d.   Bensch or his counsel shall deliver a copy of the fully-executed Disavowal,
                Revocation, and Renunciation to SW Brewing Company, LLC’s registered agent
                or executive officer (other than to Freddy Bensch), by email as a pdf by 5:00 PM,
                September 16, 2021, and Bensch or his counsel shall email a pdf copy of the
                transmittal   or   receipt    showing     same     to   Blaine      A.   Norris,   at
                blaine@NorrislniuryLaw.com;


           e.   Bensch or his counsel shall deliver a copy of the fully-executed Disavowal,
                Revocation, and Renunciation Tilray’s entire board of Directors, and its CEO, by
                email as a pdf by 5:00 PM, September 16, 2021, and email me a pdf copy of the
                transmittal   or   receipt    showing     same     to   Blaine      A.   Norris,   at
                blaine@NorrisInjuryLaw.com; and
           f.   Bensch shall sign before a notary the Trust Agreement and Consent to Declaratory
                Judgment Action.


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           g.    Bensch shall show proof of his creating the account or CD pursuant to the Trust
                 Agreement, funding it with $31,000,000.00, and having the account or CD notated
                 as being restricted by the terms of the Trust Agreement.




 II.   Terms of the License as contained on Exhibit “A.”




          READ, UNDERSTOOD AND AGREED BY SIGNATURE BELOW:




Ray Scott Fuss




Blaine A. Norris, as attorney for Ray Scott Fuss




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                                               Exhibit A


                Conditional Grant of Temporary License for Copyrighted Works
 Based on Bensch Complying with the Demand for Return; Bensch signing the Disavowal,
    Revocation, and Renunciation; Bensch signing the Trust Agreement and Consent to
 Declaratory Judgment Action; and Bensch funding, and showing proof of funding, of the
                             Trust in the amount of USD 31,000,000.00


        This Conditional Grant of Temporary License for Copyrighted Works (Temporary
Agreement) is entered into by and between the LICENSOR, Ray Scott Fuss, and the LICENSEE,
to include, Freddy Bensch, SW Brewing Company, LLC, Tilray, Inc., and their affiliates, parents,
subsidiaries,   suppliers,   subcontractors,   manufacturers,    distributors,   retailers,   advertisers,
merchandisers, marketers, website hosts, and other persons involved in the manufacture, sale, or
distribution of SweetWater Beer and beer-related merchandise;


        WHEREAS LICENSOR, is the sole author and sole owner of US Copyright Registrations
VAU1 -326-605 and VA2-084-616 (namely that certain “Trout banner” and the “SweetWater
leaping rainbow trout”) and other works related thereto (the “COPYRIGHTED WORKS”);


       WHEREAS LICENSEE desires to obtain the grant of a temporary license to utilize the
COPYRIGHTED WORKS and other non-registered rights related thereto and that are necessary
to exploit the use of the COPYRIGHTED WORKS while the Fuss and Bensch litigate the claims
in the declaratory judgment action to be filed in Fulton County Superior Court; and


       WHEREAS the conditions sufficient for Ray Scott Fuss to sign this Temporary License,
have occurred or been satisfied;


       NOW, THEREFORE, in exchange for and in consideration of the mutual promises and
covenants herein, in the Demand for Return, the and in that Agreement to Mediate/Negotiate
Copyright Matter Without Delay in Return, the Disavowal, Revocation, and Renunciation, and the
Trust Agreement and Consent to Declaratory Judgment Action, all documents to be read in pari
materia with this Temporary License, with it being understood and agreed that the terms and
conditions must be satisfied, occur or be fulfilled, as conditions precedent and/or subsequent to
this grant, LICENSOR Fuss hereby agrees and grants a license as follows:


       1. Grant of License. LICENSOR hereby grants to LICENSEE a temporary, non-exclusive
license, non-assignable without the consent of the LICENSOR, to use the COPYRIGHTED
WORKS of Scott Fuss for the TERM commencing November 4, 2020, through and including the
entry of the final verdict in that certain Declaratory Judgment Action, to be filed by Ray Scott
Fuss, and to which Bensch is and shall consent to venue and jurisdiction, and payment of the
verdict and decree based thereon, within the TERRITORY of the world, subject to the restrictions,
conditions and clauses included herein and included the Conditional Temporary License to which
this Agreement is an exhibit and executed along with this Temporary Agreement. Only a fully-
signed and executed version of this document shall have any authority to grant the license
contained herein. No party or entity shall have any right to use or rely on an unexecuted document,
or anything other than a fully-executed version of same.        In the event Bensch does not comply



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with the conditions for the grant of this license, on or before the times set forth in the Demand for
Return, dated September 15, 2021, this document shall be considered null and void, terminated
and rescinded, and of no force an effect for any time period whatsoever.


2.   Use of COPYRIGHTED WORKS.               The this Temporary Agreement, the LICENSEE may
utilize the COPYRIGHTED WORKS or derivatives there of in connection with any products,
labeling, and bottling, and merchandise manufactured and bottled for sale during the TERM, as
well as with tradenames, trademarks, advertising, promotion and other publications in connection
with the ordinary business of LICENSEE. Only a fully-signed and executed version of this
Temporary Agreement shall have any authority to grant the license contained herein. No party or
entity shall have any right to use or rely on an unexecuted document, or anything other than a fully-
executed version of this Temporary License.


3. Recordation of Temporary License.            LICENSOR will ensure that the fully executed
Temporary License will be filed, recorded or registered with the United States Copyright Office
within 10 business days of being executed.


4.   Right to Sub-License Authorized Users. LICENSEE may grant sub-licenses relating to the
use of the COPYRIGHTED WORKS to any entity who purchases or creates goods incorporating
the COPYRIGHTED WORKS from or on behalf of the LICENSEE in the entity’s role as a
distributor, advertiser, promoter, marketer, bottler, manufacturer, packager, and/or retailer or other
role necessary for conducting the normal business of the LICENSEE.


5.   Assignment The LICENSEE cannot assign and will not attempt to assign or transfer any
rights herein without the written consent of the LICENSOR, including any assignments or transfers
which may occur as a matter of law through mergers, acquisitions or consolidations.        Any such
assignment or attempted      assignment will make this       Temporary Agreement voidable          by
LICENSOR.


6. Termination. This Temporary Agreement may be immediately terminated at any time by the
LICENSOR if the LICENSEE does not comply with the tenns and conditions herein, takes
positions in contradiction to the Affidavit of Disavowal, Revocation, and Renunciation,         takes
actions inconsistent with the TRUST AGREEMENT AND CONSENT TO DECLARATORY
JUDGMENT ACTION, fails to maintain, free and clear, the USD 31,000,000.00 funds or CD in
Trust, and maintain that same is subject to and in trust for LICENSOR, or contests anything other
that the value of the Fuss Intellectual Property within the judicial proceeding for the Declaratory
Judgment Action. This Temporary License, if not terminated or expiring sooner, shall expire upon
the conclusion of the judicial action by verdict and payment in full of the verdict and any final
judgment or final decree based on that verdict, but in no event said payment exceeding USD
3 1 ,000,000.00, plus accrued interest, and post judgment interest, if any, or, upon the voluntary
dismissal of the judicial action for declaratory judgment.




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7.     Notice. The Parties hereto should give notice in writing to the following:


Ray Scott Fuss
c/o Matthew T. Hoots
Smith Tempel
1055 Prince Ave.
Athens, GA 30606
Phone 706-338-6087,
email: mhoots@srtslaw.com


and to:


Blaine A. Norris, PC,
c/o Blaine Norris
1143 Prince Ave.
Athens, GA 30606.
Phone: 706-850-9400
email: blaine@NorrisInjuryLaw.com


8.     Amendment.      This Temporary Agreement can only be modified in a written instrument
executed by both LICENSOR and LICENSEE.


9.     Disclaimer of Partnership or Agency. LICENSEE acknowledges and understands that it is
not acting as the LICENSOR’S agent in any way whatsoever.


10.     Governing Law. This Temporary Agreement shall be deemed entered into, and governed
by the law of the State of Georgia, without regard to its choice of law rules. It shall be effective
upon signing, and the temporary license shall be effectual upon signing and the conditions being
met.


11.     Non-waiver.    The LICENSOR’S failure to terminate this Temporary Agreement upon the
occurrence of an event, or failure of the occurrence of such an event, such as LICENSEE’S breach
of a material term of the Temporary Agreement, will not be considered to be a waiver and shall
not prevent the LICENSOR from terminating the Temporary Agreement if the same or similar act
occurs in the future. The failure of the conditions contained in the Demandfor Return, the Affidavit
ofDisavowal, Revocation, and Renunciation, and the Trust Agreement and Consent to Declaratory
Judgment Action, shall make this Temporary License to be of no force and effect, and null and
void for any purpose whatsoever by these parties and any and all third parties.


LICENSOR:




Ray Scott Fuss




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